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                             UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON

                                     PORTLAND DIVISION


 UNITED STATES OF AMERICA,                          3:12-cv-02265-SI

                Plaintiff,

        V.                                                           ORDER

 CITY OF PORTLAND,

               Defendant


Robert Taylor, City Attorney; Heidi Brown, Chief Deputy City Attorney; Sarah .Ames and Llsa Rogers,
Deputy City Attorneys, OFFICE OF THE CITY ATTORNEY, 1221 SW Fourth Avenue, Room
430, Portland, OR 97204. Of Attorneys for Defendant.              •

Natalie K. Wight, United States Attorney, UNITED STATES ATTORNEY'S OFFICE, DISTRICT
OF OREGON, 1000 SW Third Avenue, Suite 600, Portland, OR 97204; Laura L. Cowall, Deputy
Chief; R. Jonas Geissler, Jared D. Hager, and Amy Senier, Trial Attorneys, Special Litigation Section;
Civil Rights Division, UNITED STATES DEPARTiv.IBNT OF JUSTICE, 950 Pennsylvania Avenue,
NW, Washington, D.C. 20530. Of Attorneys for Plaintiff.

Anil S. Karia, PUBLIC SAFETY LABOR GROUP, P.O . Box 12070, Portland, OR 97212. Of
Attorneys for Intervenor-Defendant Portland Police Association.

J. Ashlee Albies, ALBIES, STARK & GUERRIERO, 1500 SW First Ave., Suite 1000, Portland, OR
97201; Kristen A. Chambers, PRISM LEGAL LLC, 3519 NE 15th Avenu~, Suite 424, Portland, OR
97212. Of Attorneys for Enhanced Amicus Curiae Albina Ministerial Alliance Coalition for Justice and
Police Reform.

Juan Chavez, Project Director and Attorney; Franz Bruggemeier and Amanda Lamb, Attorneys,
OREGON JUSTICE RESOURCE CENTER, P.O. Box 5248, Portland, OR 97204. Of Attorneys
for Amicus Cttriae Mental Health Alliance.

Michael H. Simon, District Judge.


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        On November 3, 2023, Plaintiff United States of America (United States) and Defendant

City of Portland (City) filed a Joint Motion (ECF 390) to amend the Amended Settlement

Agreement (Agreement) that was previously entered as an Order of this Court (ECF 354). The

Parties moved to add to the Agreement in place of Section X a new Section XII, which would

establish an independent, court-appointed monitor (Independent Monitor) to assess the City's

compliance Wl.th the Agreement (ECF 390-1). The original version of the Agreement (ECF 4-1) has

been amended three times folloWlng Fairness Hearings and this Court's determinations that the

proposed amendments are fair, adequate, and reasonable. Tb.is Court approved ;i. first set of

amendments to the Agreement on May 15, 2018 (ECF 171), a second set on September 23, 2021

(ECF 262), and entered; third set on February 28, 2023 (ECF 354).

        On November 30~ 2023, the Court held a Fairness Hearing to evaluate the Section XII

amendments. The Court received written and oral submissions from the United States, City,

Intervenor Portland Police Association (PP A), enhanced Amicus Curiae Albina Ministerial Alliance

Coalition for Justice and Police Reform (AMAC), Amictis Curiae Mental Health Alliance (MHA), and

many members of the public, before and during the hearing. For the reasons stated by the Court, the

Parties, and other interested persons, both in writing and orally during the Fairness Hearing, the

Court entered an order granting the motion to further amend the Agreement (ECF 401).

       Accordingly, the Court ORDERS that the Amended Settlement Agreement attached hereto

shall be and is entered as an Order of the Court, superseding the versions of the Agreement (ECF

4-1, ECF 171, ECF 262-1, and ECF 354-1) previously entered in this matter.

        IT IS SO ORDERED .

       DATED this 7Jl\       yof -:r..~ • .
                                              1   ,2024. _,,/. / /   J' Al ~

                                                   ~~  United States District Judge




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